Case 6:22-cv-02217-PGB-LHP Document1-2 Filed 11/30/22 Page 1 of 1 PagelD 12

6/15/22, 11:40 AM 800-HELP-FLA: Live Chat Summary

FLORIDA DEPARTMENT OF
AGRICULTURE AND CONSUMER SERVICES
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DAVID TOM: Thank you for using Florida Department of Agriculture and Consumer Services live chat. The chat transcript for this eS
session is below. es

 

| @ 6/15/2022, 11:22:28 DAVID TOM says
Is there a way to get a verified printout from the FL DACS verifying a phone number of 321-917-0760?
“%, 6/15/2022, 11:22:28 FDACS says
| Thank you for contacting the Florida Department of Agriculture and Consumer Services.
| 6/15/2022, 11:22:29 FDACS says
All agents are currently busy. Please hold for the next available agent. Your current position in the queue is 1
“@ 6/15/2022, 11:23:06 Agent5446 Has received your inquiry. Please continue to hold.
“@ 6/15/2022, 11:23:45 Agent5446 says
Good morning David.
“g@ 6/15/2022, 11:25:57 Agent5446 says
One moment please.
“a, 6/15/2022, 11:28:03 Agent5446 says

Thank you for holding David. I searched the department's website and found the following link to verify whether this
number is registered with this department:
https://csapp.fdacs.gov/cspublicapp/Complaints/SubscribeNow.aspx .

| @: 6/15/2022, 11:28:22 DAVID TOM says

The website says "registered"

= 6/15/2022, 11:28:31 DAVID TOM says

| It does not indicate date of registration

| @:6/15/2022, 11:28:35 DAVID TOM says
That's what I'm asking

“#@ 6/15/2022, 11:30:36 Agent5446 says

That is correct. This number is registered on Florida's Do Not Call program with an effective date of January
2014. This registration is permanent.

“@ 6/15/2022, 11:30:57 Agent5446 says
Is there anything else that I can help you with today?
“@ 6/15/2022, 11:32:08 Agent5446 says

You may print this chat as verification of registration. To print your chat transcript, at the end of the chat session,
use the print button located in the top right-hand corner of the chat screen.

“J 6/15/2022, 11:32:40 Agent5446 says
| Is there anything else that I can help you with David?

“@ 6/15/2022, 11:33:40 Agent5446 says

Thank you for contacting the Florida Department of Agriculture and Consumer Services. If you need further assistance,
please contact us by phone at 1-800-435-7352 or (850) 410-3800, M-F, 8:00 a.m. - 5:00 p.m., or email us at
CSWebmaster@FDACS.gov.

“@ Agent5446 6/15/2022, 11:33:43 has left the session.

 

 

 

 

 

      
    

PLAINTIFF’S
EXHIBIT

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https://chat.fdacs.gow/HPPC/hppewis.dll?varUserRequest=REQ_HANG_UP&varSessionID=W233720220515112228969720bceafca1e48f5843bfbd39... 1/1
